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                    EXHIBIT 1




                    EXHIBIT 1
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                                               LARSON ZIRZOW & KAPLAN, LLC
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                                               Nevada Bar No. 7787
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                                               Tel: (702) 382-1170
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Tel: (702) 382-1170 Fax: (702) 382-1169




                                               Fax: (702) 382-1169
 LARSON ZIRZOW & KAPLAN, LLC




                                          13   Proposed Attorneys for Debtors
        Las Vegas, Nevada 89101
          850 E. Bonneville Ave.




                                          14

                                          15                            UNITED STATES BANKRUPTCY COURT
                                                                               DISTRICT OF NEVADA
                                          16

                                          17   In re:                                              Case No.: BK-S-18-16584-abl
                                                                                                   Chapter 11
                                          18   BACHI BURGER, L.L.C.,                               (Jointly Administered)

                                          19                          Debtor.
                                          20

                                          21   In re:                                              Case No.: BK-S-18-16584-btb
                                                                                                   Chapter 11
                                          22   GREEN REVOLUTIONS LLC,
                                          23                          Debtor.                      Date: December 5, 2018
                                          24                                                       Time: 1:30 p.m.

                                          25     ORDER APPROVING THE EMPLOYMENT OF SHUMWAY VAN AS SPECIAL
                                               LITIGATION COUNSEL TO DEBTORS NUNC PRO TUNC TO THE PETITION DATE
                                          26
                                                        Bachi Burger, L.L.C., a Nevada limited liability company, and Green Revolutions LLC, a
                                          27
                                               Nevada limited liability company (collectively, the “Debtors”), debtors and debtors-in-
                                          28
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                                           1   possession, having filed their Application for Order Approving the Employment of Shumway Van
                                           2
                                           2   as Special Litigation Counsel to Debtors Nunc Pro Tunc to the Petition Date (the “Application”)
                                           3
                                           3   [ECF No. ___],1 requesting court approval pursuant to 11 U.S.C. §§ 327(e) and 328 to employ
                                           4
                                           4   the law firm of Shumway Van (“Shumway Van”) nunc pro tunc to the Petition Date as their
                                           5
                                           5   special litigation counsel; the Court having reviewed the Application and all matters submitted
                                           6
                                           6   therewith; notice of the Application having been proper; the Court having held a hearing on the
                                           7
                                           7   matter, with all appearances having been noted on the record; the Court having heard and
                                           8
                                           8   considered the arguments of counsel; the Court having stated its findings of fact and conclusions
                                           9
                                           9   of law on the record at the hearing, which are incorporated herein by reference in accordance
                                          10
                                          10   with Fed. R. Civ. P. 52, made applicable pursuant to Fed. R. Bankr. P. 7052 and 9014; and good
                                          11
                                          11   cause appearing therefore,
                                          12
Tel: (702) 382-1170 Fax: (702) 382-1169




                                                          IT IS HEREBY ORDERED:
 LARSON ZIRZOW & KAPLAN, LLC




                                          12
                                          13
                                          13              1.        The Application is GRANTED.
        Las Vegas, Nevada 89101




                                          14
          850 E. Bonneville Ave.




                                          14              2.        Debtors are authorized to retain Shumway Van pursuant as their special litigation
                                          15
                                          15   counsel pursuant to 11 U.S.C. § 327(e) to perform the services as set forth in the Application,
                                          16
                                          16   which is approved nunc pro tunc to the Petition Date, and on the terms and subject to the
                                          17
                                          17   conditions in the Contingency Fee Agreement, which is approved pursuant to 11 U.S.C. § 328.
                                          18
                                          18              3.        Shumway Van shall be compensated in accordance with the procedures set forth
                                          19
                                          19   in sections 328(a) of the Bankruptcy Code, and such Bankruptcy Rules as may then be
                                          20
                                          20   applicable, from time to time, and such procedures as may be fixed by order of this Court. For
                                          21
                                          21   the avoidance of doubt, however, nothing in this Order is intended or should be construed as
                                          22
                                          22   creating any contingency regarding the allowance of Shumway Van fees or otherwise in any way
                                          23
                                          23   subjecting their fees to any “reasonableness” review pursuant to 11 U.S.C. § 330.
                                          24
                                          24   ...
                                          25
                                          25   ...
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                                                   Unless otherwise indicated, all capitalized terms herein shall have the same meaning as set forth in the
                                          28         Application.
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                                           1   ...
                                           2
                                           2          4.         The Court retains jurisdiction to hear and determine all matters arising from or
                                           3
                                           3   related to the implementation, interpretation and enforcement of the Contingency Fee Agreement
                                           4
                                           4   and this Order.
                                           5
                                           5          IT IS SO ORDERED.
                                           6
                                           6
                                           7   PREPARED AND SUBMITTED:
                                           7
                                           8
                                               By:
                                           8   LARSON ZIRZOW & KAPLAN
                                           9
                                           9   ZACHARIAH LARSON, ESQ.
                                          10   Nevada Bar No. 7787
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                                          13   Las Vegas, Nevada 89101
        Las Vegas, Nevada 89101




                                          14
          850 E. Bonneville Ave.




                                          14   Attorneys for Debtors
                                          15
                                          15
                                          16
                                                                                     LR 9021 CERTIFICATION
                                          16
                                          17
                                          17          In accordance with LR 9021, counsel submitting this document certifies that the order
                                          18   accurately reflects the court’s ruling and that (check one):
                                          18
                                          19                     The court has waived the requirement of approval under LR 9021(b)(1).
                                          19
                                          20                     No party appeared at the hearing or filed an objection to the motion.
                                          20
                                          21
                                                             I have delivered a copy of this proposed order to all counsel who appeared at the
                                          21   hearing, and each has approved or disapproved the order, or failed to respond, as indicated
                                          22
                                          22   below:
                                          23
                                          23                  I certify that this is a case under chapter 7 or 13, that I have served a copy of this
                                          24   order with the motion pursuant to LR 9014(g), and that no party has objected to the form or
                                          24   content of the order.
                                          25
                                          25                                                    ###
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